USDA                                    USDA, APHIS, Animal Care
~ ~it?ffl
re
ANIMAL WELFARE COMPLAINT
Complaint No.          Date Entered               Received By
27-Jun-17                  R . Smith
Referred To                                       Reply Due
Magid/McFadden                                    27-Jul-17
Facilit or Person Com laint Filed A ainst
Name                                       Customer/License/Registration No.
Tri State Zoological Park of Western       15730/51-C-0664
Maryland
Address
12605 Moores Hollow Rd
City                      State        Zip             Phone No
Cumberland                MD           21502            (2 40) 727 - 8051
Complainant
Name                                           IOrganization
Anonymous
Address
City                                                             ~Phone No./Email address




                                                                                            Case 1:20-cv-01225-PX Document 71-17 Filed 12/20/21 Page 1 of 2
How was complaint received?
Ema il
Details of Complaint:           SEE ATTACHED
Results: On october 5, 2017 , an inspection was conduct ed a t the Tri-s t ate zoo




                                                                                                                                                      EXHIBIT L
in response to this complaint . The Animal Welfare Act addresses concerns
regarding t he welfare of animals on ly. Therefore , non animal rela ted concerns
in t he complaint regarding volunteers and the owner will not be addressed .
Animal related concerns in t he complaint are addressed as follows :
Sever al enclosures - petting zoo f e n c ing , lemur , capuchin , - have wood
that is beginning to show wear and tear. Fencing in the petting zoo area i s
being repaired as needed . Rungs or boards are re p laced o r reinforced .
At t he time of inspection , all animals were provided with wholesome
pal atable food .
A lion carcass i s present on the property . The d i sposal of the body is
in accordance with the county regulations and poses no animal welfare issue
to t he animals housed at t he zoo.
000023
Currently , there a re no regulations written for b irds. There were bi rds
lost after a heater failure in the bird house . Two birds were lost while a
volunteer was cleaning t heir cage . Apparently , she left them on their perches
outside of the cage as usual , not r ealizing their flight f eathers ha d not
been cut . The bords flew off and were spotted in t rees near the p r opert yf or a
couple of da ys bu t were unable to trap the birds . The b irds were never
recovered .
At the time of inspection , no animals were noted as being " skin and
bones " or excessively thin . One lemur is on t reat ment for an upper repiratory
condition and an old goat i s being treated for a rthx·itis .
Application packet provided? Yes 0 No [81
INSPECTOR                                                        DATE
Gloria S . McFadden , VMO                                        7- Nov- 17
REVIEWED BY                                                      DATE
Ellen J. Magid, DVM                                              7-Feb-18
000024




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